Case 23-01092-MBK             Doc 151    Filed 06/01/23 Entered 06/01/23 11:42:13   Desc Main
                                        Document     Page 1 of 3




 CHRISTOPHER M. PLACITELLA
 cplacitella@cprlaw.com

                                                      June 1, 2023

 VIA ECF
 Honorable Michael B. Kaplan, Chief Judge
 U.S. Bankruptcy Court for the District of New Jersey
 402 East State Street, Courtroom #8
 Trenton, N.J. 08608

                  Re:        In re LTL Management LLC
                             Case No. 23-12825
                             Adv. No. 23-01092

 Dear Judge Kaplan:

        At 8:32 p.m. on May 31, 2023, LTL Management (“LTL”) filed a motion for
 a bridge order confirming that the automatic stay applies to certain actions asserted
 against non-debtor affiliates or temporarily extending the stay and preliminary
 injunction to such actions pending a final hearing on the requested relief (“Motion”).
 See Dkt. 147. LTL soon after that filed a motion to shorten the hearing time so that
 this Court would hear the Motion just a day and a half later, thereby affording
 Plaintiffs only hours to respond, contrary to the requirements of due process. See
 Dkt. 148. That motion was granted this morning. See Dkt. 149. This letter addresses
 only the motion to shorten the time and respectfully requests that the Court’s Order
 (Dkt. 149) be vacated. Plaintiffs reserve their right to reply to the Motion in the
 ordinary course.

         LTL’s motion to shorten time to respond on its face (and timing) reveals LTL
 and J&J’s goals here: (1) to prevent the Middlesex County Superior Court from
 issuing its forthcoming written decision concerning Plaintiffs’ direct and successor
 liability claims against Janssen Pharmaceuticals, Inc. (“Janssen”) and Kenvue Inc.
 (“Kenvue”); and (2) deny Plaintiffs time to respond to LTL’s Motion on the merits.
Case 23-01092-MBK     Doc 151    Filed 06/01/23 Entered 06/01/23 11:42:13    Desc Main
                                Document     Page 2 of 3
 Honorable Michael B. Kaplan, Chief Judge
 June 1, 2023
 Page 2

 LTL offers no justification for its extraordinary request. It also ignores J&J’s
 agreement in the presence of Hon. Ana C. Viscomi, J.S.C. to accommodate the
 undersigned’s pre-arranged European vacation schedule.

        On May 24, 2023, the Judge Viscomi heard argument in Bergeron v. Kenvue
 Inc., et al., Docket No. MID-L-2089-23 together with other pending asbestos
 Multicounty Litigation program actions on Janssen and Kenvue’s motions to
 dismiss. Citing well-established New Jersey law, Plaintiffs asserted that Janssen and
 Kenvue bear direct and successor liability for the tortious conduct of Old JJCI.1
 Judge Viscomi denied Janssen and Kenvue’s motions to dismiss on the record and
 has since indicated that her Honor would be issuing a written opinion this week.
 After rendering her oral decision, Judge Viscomi discussed a schedule to allow J&J
 the opportunity to request a stay of the court’s decision to seek interlocutory
 appellate review. In the Atlantic County Talc-Based Body Powder Products
 Multicounty Litigation before the Hon. John C. Porto, J.S.C., Kenvue and Janssen
 likewise agreed that their pending motions to dismiss on this issue would be
 returnable on June 29, 2023.

        During the May 24, 2023 hearing, Judge Viscomi also heard argument on
 Janssen and Kenvue’s motion to quash subpoenas directed to Messrs. Thibaut
 Mongon, Paul Ruh, and Darren Snellgrove. Judge Viscomi reserved ruling on that
 motion. Janssen and Kenvue had also moved to stay discovery, on which Judge
 Viscomi held argument, but the court did not issue a ruling because Janssen and
 Kenvue withdrew their motion—apparently so that they could request that this Court
 intercede and prevent the New Jersey state courts from deciding an issue of New
 Jersey state law in what also amounts to a motion for reconsideration of this Court’s
 April 25, 2023 Order. See Dkt. 91.

        Now, more than a week after the hearing before Judge Viscomi, LTL has filed
 the Motion and sought to expedite consideration of it. LTL, in other words, had a
 week to prepare the Motion and would have this Court allow Plaintiffs mere hours
 to respond. Making matters worse, LTL has offered just one basis to shorten time—
 that is, it anticipates that Judge Viscomi “may imminently issue an order requiring
 the commencement of discovery.” How that could be a sufficient basis to shorten
 time defies explanation when in this Court’s April 25 Order, this Court decreed that

 1
  During the hearing, among other things, Plaintiffs presented evidence that Kenvue
 has continued selling asbestos-containing talc powder products in the United States.
Case 23-01092-MBK     Doc 151    Filed 06/01/23 Entered 06/01/23 11:42:13    Desc Main
                                Document     Page 3 of 3
 Honorable Michael B. Kaplan, Chief Judge
 June 1, 2023
 Page 3

 “nothing in this order (except as provided in Paragraph 4 below) shall be construed
 to enjoin or restrain any party from commencing or proceeding with discovery or
 other pretrial matters in those suits, or from filing suit against a Protected Party,
 subject to Paragraph 6 below.” Dkt. 91, ¶ 3. LTL’s articulated basis for shortening
 time thus reflects its desire to prevent Judge Viscomi from issuing her written
 opinion and allowing that court the opportunity to fully explain the basis for its
 decision from the bench.

       On a personal note, as Janssen and Kenvue’s counsel know, I am presently
 overseas in Europe for vacation with limited access to email and am set to return
 during late hours on June 9, 2023. Accordingly, Plaintiffs request that LTL’s motion
 to shorten be denied and that the hearing on the Motion be heard in the ordinary
 course. In the alternative, Plaintiffs request that they have until June 13, 2023 to
 respond.

       Thank you for your time and attention to this matter.

                                        Respectfully submitted,

                                        COHEN, PLACITELLA & ROTH, P.C.

                                        /s/ Christopher M. Placitella
                                        CHRISTOPHER M. PLACITELLA, ESQ.
                                        Counsel for Plaintiffs Bergeron, Boyle,
                                        Cruz, Dumas, El Ramadi, Drolet, and
                                        Naranjo

 cc:   Hon. Ana C. Viscomi, J.S.C.
       Hon. John C. Porto, J.S.C.
